    Case 22-07668                 Doc 220-3 Filed 03/13/24 Entered 03/13/24 10:40:51                                               Desc
                                        Proposed Order Page 1 of 1



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